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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       Case No. 19-21996-Civ-COOKE/GOODMAN

 SLAM DUNK, LLC, on behalf of itself
 and all others similarly situated,

       Plaintiff,

 vs.

 CONNECTICUT GENERAL LIFE
 INSURANCE COMPANY,

       Defendant.
 ___________________________________________/
                       ORDER GRANTING MOTION TO DISMISS
       THIS MATTER comes before me on Defendant’s Motion to Dismiss Plaintiff ’s
 Amended Complaint. ECF No. 72. I have reviewed Defendant’s Motion to Dismiss, the
 record, the relevant legal authorities, and the arguments made by the parties at the Motion
 Hearing on September 15, 2020.
       The policy at issue here states that the Monthly Cost of Insurance Rates are determined
 by the insurance company based on its expectations as to future mortality experience. The
 policy also states, in the preceding sentence, that the Monthly Cost of Insurance Rates “are
 based on the Insured’s Attained Age, the type of benefit, the Class of Insured and whether
 premiums for that Insured are paid directly to [Defendant] or through payroll deductions.”
 The plain language of the policy does not support the allegations in the Amended Complaint,
 that this provision requires the insurance company to determine its Monthly Cost of Insurance
 Rates “solely” or “principally” on future mortality experience to the exclusion of the other
 enumerated factors.
       Accordingly, as discussed at the Motion Hearing, it is hereby ORDERED and
 ADJUDGED that Defendant’s Motion is GRANTED and Plaintiff ’s Amended Complaint is
 DISMISSED with prejudice. The Clerk is directed to CLOSE this case.
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 DONE and ORDERED in chambers at Miami, Florida, this 29th day of September 2020.




 Copies furnished to:
 Jonathan Goodman, U.S. Magistrate Judge
 Counsel of record




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